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AO 91 (_Rev. ll/l l) Criininal Complaint

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UNITED STATES DISTRICT CoURT ;»WHM
fth iiAY 2 2 2018

Southern District of Texas

 

 

 

 

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United States ofAmerica ) _
v. )
Rachae| Johneon ) Case NO‘ l 1 8 _ f“ Q 1 M
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Deferidam(s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belief
On or about the date(s) of See below in the county of H@FH`S in the
Southern District of Texas , the defendant(s) violated:
Coa’e Section Ojense Descriptz`on

|n or about |\/lay 2014, within the Southern District of Texas, the defendant
Rachael Johneon, knowingly and willfully entered into an agreement, a
combination. and a conspiracy with others known and unknown to commit the
offense of Theft of Pub|ic Money against the United States, in violation of 18
USC 641, all in violation of 18 USC 371.

This criminal complaint is based on these facts:

See attached amdavit.

iii Continued on the attached sheet.

Complaz`rmm 's signatur /

lRS-C| Special Agent Aaron Gog|ey

Pri'nfed name and title

Sworn to before me and signed in my presence
AA aoll? ~“%f&
Date:
sz’ge ’s signature

i-iouston, Texae Magietrate Judge Fran s St
Pri`rifed mims amf title

 

 

City and State:

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AFFIDAVIT
I, Aaron Gogley, being first duly sworn, hereby depose and state as follows:
Summary

I seek an arrest warrant for Rachael Johnson and submit that there is probable cause
to believe that she has conspired to commit the theft of public money, in violation of 18
U.S.C. § 371. Six other people have pled guilty to filing false federal income tax returns to
obtain fraudulent tax refunds. Typically, the group fabricated income and deductions
Sometimes, they used stolen identities

That said, it appears that at least one more conspirator has not yet been charged:
Rachael Johnson. Based on corroborating evidence gathered during the investigation -
including an undercover purchase of a false tax return from Rachael - l believe Rachael has
been filing fraudulent tax returns since at least 2014; in fact, l believe she is continuing to do
so now in 2018.

Introduction and Agent Background

l. I am a Special Agent of the lnternal Revenue Service Criminal Investigation (IRS-
Cl), presently assigned to the FBl’s Houston Cyber Task Force. l have been a
Special Agent since 1998. l have received training and instruction in federal
criminal laws and conducted numerous fraud investigations during my assignment
with the IRS.

2. The facts set forth in this affidavit are based upon my own personal observations, my
training and experience, as well as information obtained during this investigation
from other sources, including: (a) other agents from the FBI, and other law
enforcement personnel involved in this investigation; (b) statements made or reported
by various witnesses with personal knowledge of relevant facts; and (c) my review of
records obtained during the course of this investigation, as Well as summaries and
analyses of such documents and records that have been prepared by others.

3. Because this affidavit is submitted for the limited purpose of establishing probable
cause, l have not set forth each and every fact I have learned in connection with this
investigation Where conversations and events are referred to herein, they are related
in substance and in part, and where figures and calculations are set forth herein, they
are approximate '

4. As set forth herein, l submit there is probable cause to believe that Rachael Johnson
has conspired to commit the theft of public money, in violation of 18 U.S.C. § 371.

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Facts Supporting Probable Cause

The conspiracy to commit Stolen Identity Refund Fraud (SIRF)

6.

Previously, the FBI had executed a search warrant on an apartment which contained
computers, cell phones, and notebooks full of handwritten lines of personal
identifiers, all of which were evidence of a conspiracy to file false federal income tax
retums and obtain fraudulent refunds. In addition, this apartment also contained
magnetic stripe cards that were used to electronically receive fraudulent refunds;
essentially, instead of paying tax refunds by check or by electronic deposit into a
bank account, the U.S. Treasury can, at the taxpayer’s request, also direct tax refunds
to an account linked to a magnetic stripe card.

As a result of that investigationJ six defendants have now pled guilty to, among other
things, conspiring to steal public money: James Michael Curtis Johnson (A.K.A.
King Benji or Curt), Joseph Johnson, Donald Perry (A.K.A. Buddha), Enitra Shante
Pickett (A.K.A. Enitra Johnson), Joshua Britton (A.K.A. Nice), and D’angela Domio,
Essentially, they did the following:

¢ The conspirators obtained means of identification of taxpayers such as name,
Social Security Number, and othersJ sometimes with the permission of the
taxpayers ~ but sometimes without permission

0 The conspirators used these means of identification to prepare fraudulent tax
returns, which listed false information such as income, deductions, or credits,
to make it appear as if the taxpayer was entitled to a refund when in fact, the
taxpayer was not entitled to that refund.

¢ The conspirators filed these fraudulent tax returns with the Intemal Revenue
Service (IRS) to claim refunds to which they were not entitled.

o When the U.S. Treasury Department paid the refund, the conspirators
withdrew the money, divided the proceeds, and used the money to fund their
lifestyles.

Rachael Johnson participated in this conspiracy as well

8.
9.

l have learned that Rachael Johnson also participated in that conspiracy.

On March 10, 2014, a fraudulent return using the name and SSN of victim l\/[.S.l was
filed with the IRS. M.S., who was interviewed on .Tune 26, 2015 told investigators

 

I use initials here to protect the victim’s privacy, butI have the full name.

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that she did not authorize her identifiers to be used - or a return to be filed in her
name.

10. Moreover, M.S. confirmed that this return was fraudulent because the following were
false:
¢ Employer (“Spencer Reed Group”) _ M.S. has not been employed since 2006
Occupation (“recruiter”)
Phone number
Account number to which return Was to be paid
M.S. did not authorize this to be filed

11. We can infer that it was the conspirators - including Rachael - who filed this return.
On March 27, 2014, the day after the Treasury issued a refund to M.S., Joseph
Johnson’s Blu phone (seized by the FBI during a search warrant) texted a picture
showing an IRS.gov refund status to 281~224-4933. Here is a close-up:

  

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12. Although this refund status does not list the taxpayer’s name, an IRS employee is
expected to testify that this status was for the fraudulent return obtained in M.S.’s
name: for tax year 2013, the only $1,475.00 refund deposited on March 26, 2014
associated with an SSN the last four digits of which were 3309 belonged to victim
M.S.

13. The phone number (281-224-4933) that Joseph texted this picture to belonged to
Rachael:
o Rachael listed that phone number on her tax returns for tax year 2013 (filed on
Feb. 1, 2014, a few weeks before this text message was sent to her).
¢ Rachael Johnson was still using this number in F all 2017 and March 2018 to
communicate with an undercover agent

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14. Further, bank statements show that on Mar. 26, 2014, the Intuit’s Tax Preparer Group

(related to TurboTax) deposited $1,412.55 was deposited into Domio’s IDW Tax
Services account (BBVA 9797). This amount represents the $1,475 refund minus
$29.99 TPG fee; $29.99 TurboTax fee; and $2.47 for state tax for POS products.
Bank records confirm that Domio drained this $l,412 the same day. Having
interviewed Domio, l expect that Domio will testify that she withdrew the money and
gave it to Rachael.

In November 2017, Rachael .Iohnson meets the UC and fabricates a 1040EZ income tax
return for the UC

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20.

Rachael continues to participate in tax crimes. Around November 2, 2017, the UC
received a call from Rachael Johnson at 281-244-4933, who continued that the UC
did not need to bring anything; the UC only needed to fill out a form when she met
with Rachael.

Later, on November 2, 2017, the UC met with Rachael Johnson at 10333 Hai'win
Drive, Ste 433, Houston, TX.

Rachael confirms that she is the leader of the office and her only employee is Kathy _
and that “1 only really typically use her [Kathy] like during tax season.”

Rachael says she can do a 1040 (income tax return form 1040) for the UC.

Rachael’s first step is to fabricate income for the UC, so she asks, “l-low much do you
want to say you made for last year?” The UC responds that her “man pays for
everything,” that is, the UC has no income. Rachael responds by brainstorming with
the UC about how much is an appropriate amount to fabricate for the tax return that
will not be too high to get the UC’s “man” in trouble. Rachael eventually suggests,
“So, for last year, you want to do, like, 30-something thousand?”

Rachael says, “1’ve been doing this since 1 was 17” (since 2007, based on her birth
date) and that “I used to work for my mom.” (This is consistent with the fact that in
2011, Rachael’s mother, Marcia Johnson, was permanently enjoined from preparing
taxes (4:11-cv-458, Dkt #19) because Marcia had been “negligently and willfully
claiming frivolous and meritless federal fuel tax credits that had no realistic
possibility of being sustained on the merits. [T]he amounts claimed were so
exaggerated that no reasonable person could conclude they were anything but
deliberately fabricated.” ln fact, as part of that investigation, Rachael Johnson had
been interviewed by the IRS.)

Back to the UC’s meeting with Rachael, the conversation then shifts to obtaining a
false income tax refund. The UC asks, “So, how much you think l can get?”
Rachael asks, if the UC worked last year. The UC replies in the negative, and that
“I’m just trying to file, you know, to get my own money.” Again, both Rachael and

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the UC have been discussing how the UC has no income and thus, would not be
entitled to any income tax refund.

21. Rachael responds, “lt’s just kind of hard to do that without any dependents Like, if
you had kids to carry and you worked, then I could have gave you income and then
they would have paid you just strictly the EIC [Earned Income Credit] off the kids.”

22. The UC asks if Rachael had spare names of dependents they can list on her return to
get the UC a fraudulent refund: “1 thought y’all normally keep some stuff, you
know, to hook me up.” Rachael pauses to ask the UC sign and backdate the
document to February 12, 2017: “So, I backdated it like you filed in February of this
years, February 12th You can just sign and date it for February just to make it seem
like you - you already had this.”

23. The UC signs, and then eventually follows up, “So, now back home, they be likc, you
know, having some kids they can put on there. You don’t got none you can hook me
up with?”

24. Rachael does not say that she does not fabricate dependents lnstead, she points out,
“Tax season is over with.” And she is right: this conversation takes place in
November 2017, long after April lSth.

25. Rachael then says, “Are you talking about for next year? Whatever kids 1 had
already - they already got filcd. Yeah. They have at the very beginning the year.”
Based on my training, my experience, and this investigation, l understand that
Rachael had names of children she could falsely list as dependents, but that she had
already used them earlier in the year. (If the same child was listed as a dependent on
more than one tax retum, this would raise a red flag with the IRS.)

26. When the UC asks if she comes back, whether Rachael can hook her up with false
dependents to list on her income tax return, Rachael replies, “If l have some.”

27. Rachael then gives the UC a backdated 1040EZ tax return reporting $38,765 in
fabricated income, and check stubs in exchange for $40.

As of March 8, 2018, Rachael Johnson is still offering to fabricate tax documents

28. On March 8, 2018, the IRS-Cl’s UC again texted Rachael Johnson at 281-224-4933,
and asked if this was still her number. Rachael said yes.

29. The UC asks, “Is it to late 4 taxes” (i.e. whether it was too late in the tax season for
Rachael to fabricate a false return, as they discussed last November 2017). Rachael
replied, No.

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30. The UC then asked if Rachael had “kids 1 can use.” When the UC met with Rachael
last November, Rachael had said that “whatever kids I had already _ they already got
filed” (i.e. she had already exhausted her list of children to falsely list as dependents).

31. At this point, Rachael askedJ who is this? The UC replied with her undercover name
and reminded Rachael that Rachael had fabricated the pay stubs for her in F all 2017 -
and that Rachael had told her to come back early this year because it was too late in
the tax season for Rachael to do her taxes.

32. Rachael then replied, “Oh okay yes l don’t have any dependents tho.” Based on my
training, my experienceJ and this investigation - including Rachael’s statements in
November 2017, 1 understand this to mean that Rachael may have already exhausted
her list of children whom she can falsely add as dependents.

Conclusion

33. For these reasons, I submit there is probable cause to believe that Rachael Johnson
has conspired to commit the theft of public money, in violation of 18 U.S.C. § 371
and thus, I ask that a warrant for her arrest be issued.

Aaron Gogley

Special Agent, IRS-Cl
FBI Task Force Officer

Sworn to a§d subscribed before me
on this day ofMay 2018_

1 find sufficient probable cause to justify this warrant

W/‘(W

U.S. Magistrate Judge Frances Stacy j

